          Case: 4:19-cv-02439 Doc #: 1 Filed: 10/18/19 1 of 9. PageID #: 1




                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                      EASTERN DIVISION


WITED STATES OF ANIIERICA,                          CASE NO.

                              Plainti貴1             JUDGE
               V.


$215,477.00U.S.CURttNCY SEIZED
ON JUNE 27,2019,BY THE DRUG                     )
ENFORCEMENT ADNIINISTRATION,                    )
PURSUANT TO A FEDERAL SEARCH                    )
WARRANT,                                        )

                                                )

$15,465.00 UoS.CUttNCY SEIZED ON                )
JUNE 27,2019,BY THE DRUG                        )
ENFORCEMENT ADMINISTRATION,                     )
PURSUANT TO A FEDERAL SEARCH                    )
WARRANT,                                        )

                                                )
ASSORTED」 EWELRY WITH AN                        )
APPRttXIMATE VALUE OF$297,750.00,               )
SEIZED ON JUNE 27,2019,BY THE DRUG              )
ENFORCEMENT ADMINISTRATION,                     )
PURSUANT TO A FEDERAL SEARCH                    )

WARRANT,                                        )

                                                )
                              Defendants.       )COpIPLAINT IN FORFEITURE
       NOW COMES plaintiff, the United States of America, by Justin E. Herdman, United

States Attorney for the Northem   District of Ohio, and Hemy F. DeBaggis, Assistant U.S.

Attomey, and files this Complaint in Forfeiture, respectfully alleging in accordance with

Supplemental Rule G(2) of the Federal Rules of Civil Procedure, as follows:
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                            JURISDICTION AND INTRODUCTION

        l.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C. Section 1345, and over an action for forfeiture under 28 U.S.C.

Section 1355(a). This Court also has jurisdiction over this particular action under 21 U.S.C.

Section 881(a)(6).

        2.      This Court has in rem jurisdiction over the defendants currency and jewelry: (i)

pursuant to 28 U.S.C. Section 1355(bX1XA) because acts giving rise to the forfeiture occurred in

this district; and, (ii) pursuant to 28 U.S.C. Section 1355(bX1XB), incorporating 28 U.S.C.

Section 1395, because the action accrued in this district. This Court will have control over the

defendants culrency and jewelry through service of arrest warrants in rem,which the U.S.

Marshals Service will execute upon the defendants currency and jewelry. See, Supplemental

Rules G(3Xb) and G(3)(c).

        3.      Venue is proper in this district: (i) pursuantto 28 U.S.C. Section 1355(bX1XA)

because acts giving rise to the forfeiture occurred in this district; and,   (ii) pursuant to 28 U.S.C.

Section 1395 because the action accrued in this district.

        4.      On June 27,2019, the defendants $215,477.00 and $15,465.00 in U.S. Currency

and assorted jewelry with an approximate value of $297 ,7 50.00 were seized during the execution

of a federal search warrant by agents and officers with the Drug Enforcement Administration at a

residence located at   XXXX   Sugar Creek Drive, Youngstown, Ohio 44512.

        5.      Subsequent to the seizure, the U.S. Drug Enforcement Administration          ("DEA")

corlmenced an administrative forfeiture proceeding against the defendants currency and jewelry.

Claims to the defendants currency and jewelry were submitted by Rahsie Lamar Gamer, aka
                                                   つ乙
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Rashie Garner ("Gamer"), in the administrative forfeiture proceeding, thereby requiring the

filing of this judicial forfeiture action.

         6.         The defendants $215,477 .00.00 and $15,465.00 in U.S. Currency and the assorted

jewelry with an approximate value of         $297 ,750.00 are subject   to forfeiture to the United States

under 21 U.S.C. Section 881(a)(6) in that they constitute proceeds from illegal drug trafficking

activities, and/or were used - or were intended to be used - in exchange for illegal controlled

substances, and/or were used - or were intended to be used - to facilitate illegal drug trafficking

activities.

                                               FORFEITURE

         7   -      In April 2018, a Drug Enforcement Administration ("DEA") investigation

determined that Garner was involved in the distribution of multiple pound quantities           of

marijuana in the Youngstown, Ohio area and that he was laundering the drug proceeds from the

marijuana sales through shell businesses identified as CQRS Quality Cars and Reliable Housing,

LTD.

         8.         In May 2018, DEA agents and officers conducting surveillance at XXXX Everett

Avenue, Youngstown, Ohio, observed Garner at the residence on multiple occasions. The

Evereff Avenue residence was owned by Reliable Housing, LTD, a company operated by Gamer.

        9.          Since July 26,2018, DEA agents and officers routinely witnessed a pattern        of

activity associated with narcotics trafficking at the residence at XXXX Everett Avenue,

Youngstown, Ohio.

         10.        In August 2018, DEA agents and officers identified another residence associated

with Garner at XXXX Sugar Creek Drive, Youngstown, Ohio and observed Garner traveling




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from this residence to the residence at XXXX Everett Avenue, Youngstown, Ohio on multiple

occasions. The Sugar Creek residence was owned by Gamer's uncle, W.M.

        11   .   Between August 20 1 8 and June 201 9, a gray 2009 Honda Odyssey Minivan,

registered to CQRS Quality Cars, was observed parked in the garage at XXXX Sugar Creek

Drive, Youngstown, Ohio and Garner was observed during DEA surveillance making multiple

trips between the Everett Avenue and the Sugar Creek residences.

        12-      On April 29,2019, a zoning inspector with the Boardman Township Zoning

Department conducted a zoning investigation at the Sugar Creek residence relative to ongoing

construction at the residence and met with a male who identified himself as "Shawn McDowell."

        13.      While inspecting the residence. the zonrng inspector smelled a strong odor of

marijuana coming from the Sugar Creek residence.

        14.      The zoning inspector later identified a photograph of Rashie Gamer as the male

who identified himself as "Shawn McDowell" to the zoning inspector at the Sugar Creek

residence.

        15.      As a result of evidence developed in the DEA investigation, it is believed that

Garner traveled from the Northern District of Ohio to Northern Califomia between May 23,

2019, and May 28,2019.

        16.      On June 27,2079, DEA agents and officers executed federal search warrants at

XXXX    Sugar Creek Drive, Youngstown, Ohio and at      XXXX Everett Avenue, Youngstown,

Ohio relative to marijuana traffrcking activity associated with Garner.

        17.      Garner was present during the search at   XXXX   Sugar Creek Drive, Youngstown,

Ohio, where agents and officers seized large sums of U.S. Currency, high-end jewelry, marijuana

processing equipment and narcotics related items, specifically:



                                                  4
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               a.     $215,477.00 in U.S. Currency, bundled and wrapped with rubber bands,

located inside a camouflage bag in the trunk of a gray 2009 Honda Odyssey minivan, registered

to CQRS Quality Cars, which was parked inside the garage;

               b.     $15,465.00 in U.S. Currency located in a blue True Religion backpack in a

storage area under the basement steps;

               c.     $51,1 1 1.00 in U.S. Currency located in plastic shopping bags in a storage

area under the basement steps;

               d.     $41,945.00 in U.S. Currency located in a black backpack in a storage area

under the basement steps;

               e.     $990.00 in U.S. Currency located in a blue plastic shopping bag in a

storage area under the basement steps;

              f.      $13,600.00 in U.S. Currency located in a black Easton backpack in a

storage area under the basement steps;

              g.      $452.00 in U.S. Currency located in the pants' pocket of pants worn by

Rashie Garner at the time the search warrant was executed:

              h.      A Royal Sovereign money counter;

              i.      A Foodsaver bag heat sealer located in a storage   area under the basement

steps;

              j.      A plastic bag containing rubber bands located in the second floor laundry

room;

              k.      A black suitcase containing marijuana packaging and processing

equipment located in a storage area under the basement steps; and




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                l.      A gold and diamond Rolex watch,    a large gold and diamond roped chain

and miscellaneous gold and diamond jewelry located on top of a master bedroom nightstand.

        18.     During the search at XXXX Sugar Creek Drive, Youngstown, Ohio, Rashie

Garner told law enforcement agents that he was not the resident of the Sugar Creek residence,

that none of the seized property belonged to him and that the seized property belonged to his

uncle, W.M.

        19.     On June 27,2079, while the search was concluding at XXXX Sugar Creek Drive,

Youngstown, Ohio, law enforcement agents made contact with Gamer's uncle, W.M. at his

residence in the Columbus, Ohio area and advised him of the seizures at the Sugar Creek

residence.

       20.      W.M. told agents that his nephew lived at the Sugar Creek residence and that the

only property that belonged to W.M. was some furniture.

       21.      During the search at XXXX Everett Avenue, Youngstown, Ohio, DEA agents and

officers seized large sums of U.S. Currency, bags of marijuana, a firearm and narcotics related

items, more specifically:

                a.      $2,417 .00 in U.S. Currency located in the pocket   of   a hooded sweatshirt   in

the closet in the master bedroom:

                b.      $14,071.00 in U.S. Currency located in the upstairs hallway closet;

                c.      $610.00 in U.S. Currency located in the pocket of a blue jacket in the

closet of a spare bedroom;

                d.      $3,560.00 in U.S. Currency located inside a boot in the basement;

                e.     A fully loaded Bushmaster .223 firearm, serial number D12981, located in

a red gym bag   in the garage;



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               f.     Amagazine loaded with twenty-seven (27) .223 rounds, located in a red

gym bag in the garuge;

               g.     A black duffle bag containing three (3) additional black duffle bags,   a   roll

of plastic wrap and packaging material located in a hidden compartment under the stairs in the

basement;

               h.     Heat seal bags, foil wraps and (1) small padlock located in a secondary

bedroom closet;

               i.     An electronic scale and (2) boxes of oven bags located on a table in the

basement;

               j.     Plastic bags which each contained marijuana in the following approximate

amounts:

                      i.   3.08 gross kilograms;

                      ii.52.7 gross grams;

                      11i-   69.2 gross grams;

                      iv. 8.71 gross kilograms; and

                      v.     4.9 gross kilograms.

                      Total:     16,81 1.9 grams of marijuana.




                                                    7
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                                       CONCLUSION

        22.     By reason of the foregoing, the defendants$215,477.00 and $15,465.00 in U.S.

currency and assorted jewelry with an approximate value of $297 ,7 50.00 are subject to forfeiture

to the United States under 21 U.S.C. $ 881(a)(6) in that they constitute proceeds from illegal

drug trafficking activities, and/or were used - or were intended to be used - in exchange for

illegal controlled substances, and/or were used - or were intended to be used - to facilitate illegal

drug trafficking activities.

        WHEREFORE, plaintiff, the United States of America, requests that this Court enter

judgment condemning the defendants $215,477.00 and $15,465.00 in U.S. Currency and assorted

jewelry with an approximate value of $297,750.00 and forfeiting them to the United States, and

providing that the defendants currency and jewelry be delivered into the custody of the United

States for disposition according to law, and for such other relief deemed proper.




                                                      Respectn11ly subllnitted,


                                                      JUSTIN E.HERDMAN
                                                      United States Attomcy


                                                           /
                                              B副
                                                      Herlry F.DcBaggis(OH:0007561)
                                                      Assistant United States Attomcy
                                                      Carl B.Stokes U.S.Court House
                                                      801 West Superior Avenuc,Suite 400
                                                      Clcvcland,Ohio 44113
                                                      216.622.3749
                                                       Fax:216.522.7499
                                                      Hc‐y.DeBaggis@usda.gov
           Case: 4:19-cv-02439 Doc #: 1 Filed: 10/18/19 9 of 9. PageID #: 9




                                        VERIFICAT10N

STATE OF OHIO
                                 SS.
COUNTY OF CUYAHOGA

       I, Henry F. DeBaggis, under penalty of perjury, depose and say that I am an Assistant

United States Attorney for the Northern District of Ohio, and the attorney for the plaintiff in the

within entitled action. The foregoing Complaint in Forfeiture is based upon information

officially provided to me and, to my knowledge and beliel is true and correct.




                                                      ィプ                         ′兄―̲
                                                      Henry F. DeBaggis (OH: 0007561)
                                                      Assistant United States Attorney




       SwomtoandsubscribedinmypresenccthisJ 2̲dり                   of October,2019.



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                              STATE OF OH!0
                              COMM EXPIRES
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                            CUYAHOGA COUNTY




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VI.CAUSE OF ACT10N
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                                              UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF OHIO

l.                 Clvil Categories: (Please check one cateqorv onlv)

                   1.  A              General Civil
                   2.  n              Administrative Review/Social Security
                    3. E              Habeas Corpus Death Penalty
        .lf under Title 28,
                            52255, name the SENTENCING JUDGE:

                                                     CASE NUIVBER:
ll.     RELATED OR REFILED CASES. See LR 3. 1 which provides in pertinent partr "lf an action is filed or removed to th is Cou rt
        and assigned to a District Judge after which it is discontinued, dismissed or remanded to a State court, and
        subsequently refiled itshall beassignedtothesameJudgewhoreceivedtheinitialcaseassignmentwithoutregardfor
        the place of holding court in which the case was refiled. Counsel or a party without counsel shall be responsible for
        bringing such cases to the attention of the Court by responding to the questions included on the Civil Cover Sheet."

        Thisactionls     f     neUafeO to another PEND|NGcvil        case Thisactionis        l-l   neffeO pursuant      to LR 3.1

lf applicable, please indicate on page   I   in section Vlll, the name of the Judge and case number.


l1l.    ln accordance with Local Crvil Rule 3.8. actions involving counties in the Eastern Division shall be filed at any of the
        divisional offices therein. Actions involving counties in the Western Division shall be filed at the Toledo office. For the
        purpose of determining the proper division, and for statistical reasons, the following information is requested.

        ANSWER ONE PAMGRAPH ONLY, ANSWER PARAGRAPHS 1 THRU 3IN ORDER, UPON FINDING WHICH
        PARAGRAPH APPLIES TO YOUR CASE. ANSWER IT AND STOP.

        (1) Resident defendant. lf the defendant resides in a county within this district, please set forth the name of such
        county
        COUNTY: vahoning
        Egpqali!! For the purpose of answering the above, a corporation is deemed to be a residentofthat county in which
        it has its principal place of business in that district.

        (2)       Non-Resident defendant. lf no defendant is a resident of a county in this district, please set forth the county
                  wherein the cause of action arose or the event complained of occurred.
        COUNTY:

        (3)       Other Cases. lf no defendant is a resident of this district, or if the defendant is a corporatio n not having a principle
                  place of business within the district, and the cause of action arose or the event complained of occurred outside
                  this district, please set forth the county of the plaintiffs residence.
        COUNTY:

lV.     The Counties in the Northern District of Ohioaredivided into divisions as shown below. Afterthe countyis
        determined in Section lll, please check the appropriate division.

        EASTERN DIVISION

           L-l AKRON                           (Counties: Carroll, Holmes, Portage, Stark, Summit, Tuscaravyas and wayne)
           f---l CLEVELAND                     (Counties: Ashland, Ashtabuta, Crawford, Cuyahoga, ceauga, Lake,
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           7      "or*o.ro**,",,",,"",1ff1'll'll"i',",.ii#i"[iilil?,.,,,0,,,
       WESTERN DIVISION

                   TOLEDO                      (Counties; Allen, Auglaize, Defiance, Erie, Fulton, Hancock, Hardin, Henry,
                                                Huron, Lucas, Marion, Mercer, Ottawa, Paulding, Putnam, Sandusky, Seneca
                                                Vanwert, Williams, Wood and VWandot)
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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                     EASTERN DIVISION
UNITED STATES OF ANIERICA,                    ) CIVIL ACTION NO.
                                                   )
                      Plainti氏               )」 UDGE
                                                   )
               V。
                                        )
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$215,477.00U.S.CUttNCY SEIZED                 )
ON JUNE 27,2019,BY THE DRUG                   )
ENFORCEMENT ADMINISTRATION,                    )
PURSUANT TO A FEDERAL SEARCH                   )
WARRANT,ct al.,                                )
                                                   )
                      Dcfcndants。              ) PRAECIPE
       Plcase issue WaTants ofArrcstin Rem on Defendants$215,477.00 and$15,465.00 in

U.S.Cllrrency,and on Assortcd Jewelry with an approxilnatc value of$297,750.00 to thO United

States NIIarshals Servicc on bchalf ofthe Unitcd Statcs Attomcy's Offlcc.

                                             Respcctiblly subnlitted,


                                             Justin E.Hcrdman


                                     By:
                                             Herlry F.DeBaggis(OH:0007561)
                                             Assistant United States Attomey
                                             801 West Superior Avenue
                                             Suitc 400
                                             Cleveland,OH 44113‑1852
                                             Tel.(216)622‑3749
                                             Fax.(216)522‑7499
                                             Hcrlry.DcBaggis@usda.gov
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                                     NORTHERN DISTRICT OF OHIO
                                                                                     WARRANT OF
                                                                                    ARREST力 V RE17

TO:    THE U.S.MARSHALS SERVICE,DRUG ENFOMEⅣ 圧NT ADMINISTRATION,AND/OR
        ANY OTIIER DULY AUTHORIZED LAW ENFORCEMENT OFFICER:
           WHEREAS,on lC1/18/2019                 a                 Complaint in Forfeiture
was filed in this Court by Justin E. Herdman, United States Attorney for this District, on behalf of the United
States, against:

      $215,477.00 U.S. Currency (CATS ID# l9-DEA-653541)
      $15,465.00 U.S. Currency (CATS ID# 19-DEA-653553), and
      Assorted Jewelry with an approximate value of $297,750.00 (CATS ID# l9-DEA-653548).

         and WHEREAS, the defendant properties are currently in the possession, custody or control of the United
States; and,

         WHEREAS, Rule G(3)(b)(i) of the Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions directs the Clerk of the Court to issue a warrant of arrest in rem for the arrest of the defendant
properties; and,

         WHEREAS, Rule G(3)(c) of the Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeiture Actions provides that the warrant of arrest in rem must be delivered to a person or organization
authorized to execute it;

        YOU ARE COMMANDED to arrest the defendant properties by serving a copy of this warrant on the
custodian in whose possession, custody or control the properties are presently found, and to use whatever means
may be appropriate to protect and maintain it in your custody until further order of this Court.

           YOU ARE FURTTIER COMMANDED to file the same in this Court with your return thereon.


 WITNESS THE HONORABLE                                          llNITED STATES DISTRICT JLDGE AT




                               DEPUTY CLERK



                                    Returnable                  days after issue.

                                                       USMS
DISTRICT                                                      DATE RECEIVED                        EXECUTED


PRNTED NAME                                                   SIGNATURE
                                    Case: 4:19-cv-02439 Doc #: 1-4 Filed: 10/18/19 1 of 1. PageID #: 14
       U.S. Department of Justice
                                                                                                  PROCESS RECEIPT AND RETURN

       PLAINTIFF                                                                                                                  COURT CASE NUMBER
       United States         of America
       DEFENDANT                                                                                                                  TYPE OF PROCESS
       S215,477.00 in l」            S.Currency,and S15,465.00in U.S.Currcncy                                                     Warrant ofArrestin Rcm


       SERVE
          AT

   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

                     r
                                                                                                                             Number ofprocess to be
                                                                                                                             served rvith this Form

                     '   Henry F. DeBaggis, Assistant United States Attorney
                                                                                                                             Number of parties to be
                         Office of the United States Attomey                                                                 served in this case
                         801 W. Superior Avenue, Suite 400 United States Courthouse
                         Cleveland, Ohio 441l3
                                                                                                                             Check for service
                                                                                                                             on U.S.A.


       SPECIAL INSTRUCTIONS OR OTHER IIFORMATION THAT Vν      lLL ASSIST IN EXPEDI]Π NG SERVICE rrFcrrrdι β                                 sゴ″ass   α″′ИrrF″ ″ara И ttessι ュ
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        S215,477 00 in U S Currency(19‑DEA‑653541),and S15,465 00in U.S Currency(19‐                                           DEA‑653553)




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                                                                                                                           216‑622‑3749
                                                                                                                                                             DATE

                                                                                                                                                             10/18/19

       SPACE BELOW FOR USE BY PROCESSING OFFICIAL ONLY―                                                                   DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total             Total Process   District of      District to        Signature ofAuthorized Agent or Other Agency Personnel        Datc
   number of nrocess indicated.                                    Origin           Serve

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   on the individual,company,co「 poratiOn,etc,at the address sho￢ m above on the on the individual,company,corporation,ctc shown atthe address inscrted below

   I      I hereby       certi!   and retum that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)

   Name and title of individual sewed (if not shown abote)
                                                                                                                                   !   A person of suitable age and discretion
                                                                                                                                       then residing in defendant's usual place
                                                                                                                                       ofabode
                                                                                                                                                                                □□

   Address (complete only different than shown abot,e)                                                                              Date                   Timc
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                                                                                                                                   Signature



   Service Fee                Total Mileage Charges      Forwarding Fee          Total Charges         Advance Deposits     Amount ou'ed
                              including endeavors)                                                                          (..lmount of Refund*)




  REMARKS




  PRIOR EDITIONS
  MAY BE USED
                             Case: 4:19-cv-02439 Doc #: 1-5 Filed: 10/18/19 1 of 1. PageID #: 15
       U.S. Department of Justice
                                                                                            PROCESS RECEIPT AND RETURN

       PLAINTIFF                                                                                                           COURT CASE NUMBER
       United States   of America
       DEFENDANT                                                                                                          TYPE OF PROCESS
       Assorted Jewelry with an approximate value of $297,750.00                                                         Warrant ofArrcstin Rcm
                      ／ １


                        NAME OFINDIVIDUAL,COMPANY,CORPORATION ETC TO SERVE OR DESCRIP■                                    ON OF PROPERTY TO SEIZE OR CONDENIN
       SERVE            Assorted Jewelry with an approximate value of 5297,750.00
          AT            ADDRESS β ′ο′鰤 D,″ α″″′″′ブ    VO,0,Sraた α″グZ/P Cο dり
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   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW
                                                                                                                    Number ofprocess to be

                 r
                 '   Henry F. DeBaggis. Assistant United States Attomey
                                                                                                                    served with this Form


                                                                                                                    Number of parties to be
                     Off,rce of the United States Attomey                                                           served in this case
                     801 W. Superior Avenue, Suite 400 United States Courthouse
                     Cleveland, Ohio 441l3                                                                          Check for service
                                                                                                                    on U.S.A.


       SPECIAL INSTRUCIIONS OR OTHER INFORMA■ ON THAT WILL ASSIST IN EXPEDITNG SERVICE rIPac′                                   ″d′ β ′             ′Иdむessι ュ
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        Assorted Jewelry with an approximate valuc of S297,750.00(19‑DEA‑653548)




    」配
   葛 Ψi写
                                                                                                                πLEPHONE NUヽ BER                      DATE
                                                                                            蹄緞         T        216‑622‑3749                           10/18/19

       SPACE BELOW FOR USE BY PROCESSING OFFICIAL ONLY=DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total       Total Process   District of      District to    Signature ofAuthorized Agent or Other Agency Personnel           Date
   number of process indicated.                              Origin           Servc

                                                             No̲              No̲̲̲̲
   I hereby certifi and retum that I E  hur. personally served ,      n
                                                                      have legal evidence of service, D   hur. executed as shown in "Remarks", the process described
   on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

   I      I hereby certiry and retum that I am unable to locate *re individual, company, corporatiorL etc. named above   (See remarl<s belott)

   Name and title of individual sewed (if not shown abot'e)
                                                                                                                            !     A person of suitable age and discretion
                                                                                                                                  then residing in defendant's usual place
                                                                                                                                  ofabode
                                                                                                                                                                         □□


   Address (complete only    dffirent than shown abore)                                                                      Date                   Time

                                                                                                                                                                              pm

                                                                                                                             Signature



   Sen,ice Fee          Total Mileage Charges      Forwarding Fee          Total Charges     Advance Deposits     Anrount on'ed
                        including endeavors)                                                                      (Amount of Refundr)



   REMARKS




  PRIOR EDII10NS
  MAY BE USED
        Case: 4:19-cv-02439 Doc #: 1-6 Filed: 10/18/19 1 of 2. PageID #: 16




                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF OHIO

                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                      )CIVIL ACTION NO.
                                                   )
                       Plainti氏              )JUDGE
                                                   )
               V.                        )
                                                   )

                                                   )

$215,477.00U.S.CURRENCY SEIZED                  )
ON JUNE 27,2019,BY THE DRUG                   )
ENFORCEMENT ADⅣ IINISTRATION,                     )
PURSUANT TO A FEDERAL SEARCH                   )
WARRANT,ct al.,                                )
                                                   )
                       Dcfendants.                     )NOTICE
Party― in― Interest:         Rashie Gamer
                              c/o Walter T.Ⅳ ladison,Attonley at Law
                              Walter T.Madison,LLC
                              Dclaware Building― Suite 201
                              137S.Ⅳ lain Strcet
                              Akron,Ohio 44308

       The above¨ captioncd forfciture action was flled in UoS.District Court on October 18,

2019.A copy ofthe complaint is attached. Ifyou clailn an intcrest in any ofthc dcfendant

property,the following applies.
         Case: 4:19-cv-02439 Doc #: 1-6 Filed: 10/18/19 2 of 2. PageID #: 17




       Pursuant to Rule G of the Supplemental Rules for Admiralty or Maritime and Asset

Forfeiture Claims, you are required to file with the Court, and serve upon Henry F. DeBaggis,

plaintiff s attorney, whose address is United States Attomey's Office; United        States Court House;

801 West Superior Avenue, Suite 400; Cleveland, Ohio 44113, a verified claim to the defendant

property within thirty-five (35) days after your receipt of the complaint. Said claim shall

contain the information required by Rule G(5) of the said Supplemental Rules. Additionally,

you must file and serve an answer to the complaint or a motion under Rule 12 of the Civil Rules

of Procedure, within twenty (20) days after the filing of the claim, exclusive of the date of filing.

If you fail to do so, judgment by default will   be taken for the relief demanded in the complaint.

                                                 Respectfully submitted,

                                                 Justin E. Herdman



                                       町         HeШ り F.DeBaggis(OH:0007561)
                                                 Assistant United States Attorllcy
                                                 801 Wcst Supcrior Avcnue
                                                 Suite 400
                                                 Cleveland,OH 44113‑1852
                                                 Tel.(216)622‑3749
                                                 Fax.(216)522¨ 7499
                                                 Herlry.DeBaggis@usda.gov
